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                                           EXHIBIT 6
                                          1667




From: Ned Pillersdorf <pillersn@gmail.com>
Sent: Friday, December 15, 2023 10:55 AM
To: Johnson, Kristeena <Kristeena.Johnson@DINSMORE.COM>
Subject: Baker, et al v. Blackhawk, et al

Please see attached. I have already sent you some of these. I am also sending an updated
corrected compliant/incompliant page to let you know what we have done. We are having a hard
time getting in touch with some people. We will probably be withdrawing from representation on
some of the people who are not sending what they are supposed to send us. Most also live in a
remote area where they do not have good signal for cell phones. -Debbie

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Pillersdorf Law Offices
124 West Court Street
Prestonsburg, Kentucky 41653

Phone: 606-886-6090
Fax: 606-886-6148




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Baker, et al vs. Blackhawk, et al



Yellow – Compliant                  Green – Close to being Compliant        Red – Incompliant

GROUP A

Johnny E. Mullins and Diana Ortela: Spoke to Diana and she is supposed to be gathering information.

Ellen Henson: No working number & no email. Sent letter. 12/15/23 – Still have not heard from her.
12/15/23: Talked to Burley White & he said this is his grandmother. He is going to try to get this to us.
He said she probably has not been to the post office.

Benjamin Craft: He is supposed to be gathering the information. They are requesting his FEMA docs.
We just received his FEMA authorization and I sent it to Kristeena. Received requested items 12/15.

GROUP B

Barbara Neace: Emailed and called and left message to call me. Barbara is elderly. 12/13/23: Finally got
in touch with her son, Lonnie. He does not live close but I emailed him the requests and he is going to
try to get us everything he can. He is the one who has the drone pictures/video. I’m not sure we can get
the drone pictures/video in time.

Brown & Brenda Strong: Requested receipts they have for repairs/costs. Sent Kristeena receipts they
have and some pictures on 12/14/23. This is all they have.

GROUP C

Aaron Wayne White Says he has already given all he has of the text messages/emails.

GROUP D

Lester Baker: Supposed to be gathering documents. They did ask for documentation of his Social
Security disability status. 12/14/23 – Called and left message to call me asap.

Shelvin White: Just asked for receipts and he sent copy of check to Mountain Door for $2,490. This is
all he has.

Faye White: Sent letter from Breathitt County Executive Judge stating her house was flooded and then
demolished. This is all they asked for. Sent to Kristeena.

GROUP E

Cassandra Scotland: Asking for medical records and she has already signed a medical authorization for
them. Sent other request.
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GROUP F

Bridgette Fugate: Sent email but could not reach by phone – left message. Emailed her again. Have still
not been able to reach her. 12/14/23: Called her place of employment & she does not work there any
longer. 12/15/23: Called Chase Hays & his wife said she lives close to them & she will tell her we are
trying to get in touch with her.

GROUP G

Burley and Denita White: Sent email. Finally got a call from them today (12/5) and they are gathering
information. 12/15/23: Called him & he said he would send everything today. He said he thought they
gave their deed to Darrell Herald but are going to send it again.

Greta and Richard White We sent the titles to all vehicles. They do not have the rest of the pages to the
Market Valuation Report for Liberty Mutual Ins. Co. but will try to get them anyway. No other repairs on
house except they fixed their yard and put up a rope fence. (Are looking for receipts for rope fence but
do not know if they have any).

GROUP I

Debbie Watts: Sent email but have not been able to reach via phone yet. Asking for FEMA documents
and all communications (text, i-message, social media, letters, etc). Debbie has not sent her signed
FEMA authorization back to us yet. (Same as Melvin Rupert).

Melvin Rupert: Sent email but have not been able to reach via phone. Has not sent the FEMA
authorization back to us yet. Contacted him by phone. Said he would send item. 12/14/23 – sent
another email and tried to call but could not reach them. (Same as Debbie Watts).

GROUP J

Adam & Megan White: Have not complied with hardly anything. Only answered initial form we sent.
Cannot reach them via phone or email. 12/15/23: Asked Burley White if he knows Adam & Megan and
he said they are his first cousins. He is going to try to reach them. He gave me another phone number,
but it rang and rang and then gave a busy signal.
